Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 1 of 11 Page ID #:1




 1   Michelle R. Press, SBN 163637
 2
     Danica Lam, SBN 266710
     WILSON, ELSER, MOSKOWITZ,
 3     EDELMAN & DICKER LLP
 4
     555 South Flower Street, Suite 2900
     Los Angeles, California 90071
 5   Telephone:(213) 443-5100
 6   Facsimile: (213) 443-5101

 7   Attorneys for Plaintiff
 8   STATE NATIONAL INSURANCE CO., INC.

 9

10
                           UNITED STATES DISTRICT COURT
11                        CENTRAL DISTRICT OF CALIFORNIA
12

13   STATE NATIONAL INSURANCE                    )   Case No: 2:22-3871
14   CO., INC.,                                  )
                                                 )
15                                  Plaintiff,   )
16                                               )   COMPLAINT FOR
     v.                                          )   DECLARATORY RELIEF AND
17                                               )   REIMBURSEMENT
18   GLOBAL INVESTMENTS, LLC;                    )
     COMMERCIAL PROPERTY                         )
19   MANAGEMENT, INC.; DAVID                     )
20   SOUFER; FRED & JAMISON, LLC;                )
     and DOES 1 through 20                       )
21                                               )
22                              Defendants.      )
                                                 )
23

24           Plaintiff State National Insurance Company, Inc. ("Plaintiff") hereby brings
25   this complaint against defendants Global Investments, LLC, Commercial
26   Property Management, Inc.; David Soufer (collectively "Insured Defendants")
27   and underlying plaintiff Fred & Jamison, LLC ("Fred & Jamison"), alleging as
28   follows:
                                                 1
                         COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 2 of 11 Page ID #:2




 1                                      INTRODUCTION
 2           1.     Plaintiff is affording a defense to Insured Defendants in an
 3   underlying action entitled Fred & Jamison, LLC v. Global Investments, LLC, et
 4   al., Los Angeles County Superior Court Case No. 19STCV43669 ("the
 5   underlying action"). Plaintiff is also affording a defense to Insured Defendants in
 6   the related action filed by Fred & Jamison against the City of Los Angeles Acting
 7   by and through the Los Angeles Department of Water and Power ("The City"), in
 8   which the City filed a cross-complaint against Insured Defendants entitled Fred &
 9   Jamison, LLC v. Los Angeles Department of Water & Power, Los Angeles
10   County Superior Court Case No. 20STCV23514 ("the related action"). The
11   underlying action and the related action are sometimes collectively referred to as
12   "the underlying actions." Plaintiff seeks a declaration that it has no duty to
13   defend or indemnify Insured Defendants in the underlying actions pursuant to an
14   insurance policy Plaintiff issued. Plaintiff also seeks reimbursement of defense
15   fees and costs it expended on behalf of Insured Defendants to defend against the
16   underlying actions.
17                                        THE PARTIES
18           2.     Plaintiff is now and was at all relevant times a corporation formed
19   under the laws of the State of Texas with its principal place of business in
20   Bedford, Texas. At all times mentioned in this complaint, Plaintiff has been
21   authorized to do business in the State of California.
22           3.     Plaintiff is informed and believes, and thereon alleges that defendant
23   Global Investments, LLC, is a limited liability company formed in California and
24   doing business in Los Angeles County.
25           4.     Plaintiff is informed and believes, and thereon alleges that defendant
26   Commercial Property Management, Inc. is a corporation filed under the laws of
27   California and doing business in Los Angeles County.
28
                                                   2
                           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 3 of 11 Page ID #:3




 1           5.     Plaintiff is informed and believes, and thereon alleges that defendant
 2   David Soufer is an individual and resident of Los Angeles County.
 3           6.     Plaintiff is informed and believs, and thereon alleges that Fred &
 4   Jamison, LLC is a limited liability company formed in California and doing
 5   business in Los Angeles County.
 6                             JURISDICTION AND VENUE
 7           7.     This is an action for declaratory relief pursuant to 28 U.S.C. § 2201
 8   and Rule 57 of the Federal Rules of Civil Procedure to resolve an actual
 9   controversy between the parties as set forth herein. This Court has jurisdiction
10   over this action pursuant to 28 U.S.C § 1332, because there is complete diversity
11   of citizenship between Plaintiff, on one hand, and the Insured Defendants and
12   underlying plaintiff Fred & Jamison, on the other, and there is more than $75,000
13   in controversy.
14           8.     Venue is proper pursuant to 28 U.S.C. § 1391(a). Venue is proper in
15   this Court pursuant to 28 U.S.C. § 1391(b), because this is a civil action in which
16   subject matter jurisdiction is founded only on diversity of citizenship and the
17   action is brought in a judicial district in California where Insured Defendants
18   were doing business in at all relevant times and in which the policy was issued to
19   Insured Defendants.
20                               FACTUAL BACKGROUND
21                                    The Insurance Policy
22           9.     Plaintiff issued an insurance policy containing Commercial General
23   Liability ("CGL") coverage to Global Investments, LLC and others, designated as
24   Policy No. QJT-SN001586-00, effective May 26, 2018 to May 26, 2019 ("the
25   policy"). The policy contains limits of $1 million for Each Occurrence and $1
26   million for Personal and Advertising Injury, subject to a $2 million General
27   Aggregate Limit (including Products-Completed Operations). Global
28   Investments, LLC is identified in the CGL Declarations as a Limited Liability
                                                  3
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 4 of 11 Page ID #:4




 1   Company, with business description: Apartment Buildings. The address of 526 S.
 2   Oxford is identified as Premises No. 5 in the policy. CGL coverage is provided
 3   pursuant to Form CG 00 01 04 13.
 4
             10.    The coverage form includes the following pertinent terms:
 5
                    SECTION I – COVERAGES
 6                  COVERAGE A BODILY INJURY AND
 7                  PROPERTY DAMAGE LIABILITY
 8                  1. Insuring Agreement
 9                     a. We will pay those sums that the insured becomes
10                       legally obligated to pay as damages because of
                         "bodily injury" or "property damage" to which this
11
                         insurance applies. We will have the right and duty
12                       to defend the insured against any "suit" seeking
                         those damages. However, we will have no duty to
13
                         defend the insured against any "suit" seeking
14                       damages for "bodily injury" or "property damage"
                         to which this insurance does not apply. We may,
15
                         at our discretion, investigate any "occurrence" and
16                       settle any claim or "suit" that may result. But:
17                       (1) The amount we will pay for damages is limited
18                          as described in Section III – Limits Of
                            Insurance; and
19
                         (2) Our right and duty to defend ends when we
20
                            have used up the applicable limit of insurance
21                          in the payment of judgments or settlements
                            under Coverages A or B or medical expenses
22
                            under Coverage C.
23
                       No other obligation or liability to pay sums or
24                     perform acts or services is covered unless explicitly
25                     provided for under Supplementary Payments –
                       Coverages A and B.
26
                       b. This insurance applies to "bodily injury" and
27
                         "property damage" only if:
28
                                                  4
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 5 of 11 Page ID #:5




 1                       (1) The "bodily injury" or "property damage" is
 2
                            caused by an "occurrence" that takes place in
                            the "coverage territory";
 3
                         (2) The "bodily injury" or "property damage"
 4                          occurs during the policy period; and
 5
                         (3) Prior to the policy period, no insured listed
 6                          under Paragraph 1. of Section II – Who Is An
 7                          Insured and no "employee" authorized by you
                            to give or receive notice of an "occurrence" or
 8                          claim, knew that the "bodily injury" or
 9                          "property damage" had occurred, in whole or in
                            part. If such a listed insured or authorized
10                          "employee" knew, prior to the policy period,
11                          that the "bodily injury" or "property damage"
                            occurred, then any continuation, change or
12                          resumption of such "bodily injury" or "property
13                          damage" during or after the policy period will
                            be deemed to have been known prior to the
14                          policy period.
15
                    c. "Bodily injury" or "property damage" which
16                    occurs during the policy period and was not, prior
                      to the policy period, known to have occurred by
17
                      any insured listed under Paragraph 1. of Section II
18                    – Who Is An Insured or any "employee"
                      authorized by you to give or receive notice of an
19
                      "occurrence" or claim, includes any continuation,
20                    change or resumption of that "bodily injury" or
                      "property damage" after the end of the policy
21
                      period.
22
                    d.     "Bodily injury" or "property damage" will be
23                       deemed to have been known to have occurred at
24                       the earliest time when any insured listed under
                         Paragraph 1. of Section II – Who Is An Insured or
25                       any "employee" authorized by you to give or
26                       receive notice of an "occurrence" or claim:
27

28
                                                 5
                         COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 6 of 11 Page ID #:6




 1                         (1) Reports all, or any part, of the "bodily injury"
 2
                              or "property damage" to us or any other
                              insurer;
 3
                           (2) Receives a written or verbal demand or claim
 4                            for damages because of the "bodily injury" or
 5                            "property damage"; or
 6                         (3) Becomes aware by any other means that
 7                            "bodily injury" or "property damage" has
                              occurred or has begun to occur.
 8
                                                  ***
 9

10                  SECTION II – WHO IS AN INSURED

11                  1.      If you are designated in the Declarations as:
12                                                ***
13                       c. A limited liability company, you are an insured.
                            Your members are also insureds, but only with
14
                            respect to the conduct of your business. Your
15                          managers are insureds, but only with respect to
16
                            their duties as your managers.
                                                  ***
17
                    2. Each of the following is also an insured:
18

19
                         b. Any person (other than your "employee" or
                           "volunteer worker"), or any organization while
20                         acting as your real estate manager.
21                                                ***
22                  SECTION V- DEFINITIONS
23                                            ***
24
                    3. "Bodily injury" means bodily injury, sickness or
                       disease sustained by a person, including death
25                     resulting from any of these at any time.
26
                    13."Occurrence" means an accident, including
27                     continuous or repeated exposure to substantially the
                       same general harmful conditions.
28
                                                    6
                            COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 7 of 11 Page ID #:7




 1                  17."Property damage" means:
 2                     a. Physical injury to tangible property, including all
 3                        resulting loss of use of that property. All such loss
                          of use shall be deemed to occur at the time of the
 4                        physical injury that caused it; or
 5
                       b. Loss of use of tangible property that is not
 6                        physically injured. All such loss of use shall be
 7                        deemed to occur at the time of the "occurrence"
                          that caused it.
 8                                            ***
 9
                                    The Underlying Actions
10
             11.    On December 4, 2019, Fred & Jamison filed the underlying action
11
     against Insured Defendants. The underlying action alleges that Fred & Jamison
12
     owns real property located at 500 S. Oxford Ave., Los Angeles, CA ("500 S.
13
     Oxford"). The underlying action alleges that Global Investments, LLC owns the
14
     adjoining property at 526 S. Oxford Ave., Los Angeles, CA ("526 S. Oxford").
15
     Fred & Jamison alleged that Commercial Property Management, Inc., managed
16
     526 S. Oxford, and David Soufer owns or controls both Global Investments, LLC
17
     and Commercial Property Management, Inc.
18
             12.    Fred & Jamison alleged in the underlying action that it is
19
     redeveloping and constructing 500 S. Oxford, and upon investigation, it
20
     discovered a long-standing water leak on 526 S. Oxford, about which Insured
21
     Defendants allegedly were aware but did not repair.
22
             13.    At the time of the alleged water leak, Fred & Jamison's property was
23
     a vacant lot. At the time Fred & Jamison filed the underlying action, 500 S.
24
     Oxford was a vacant lot.
25
             14.    Fred & Jamison allege the water leak caused significant losses and
26
     damage to 500 S. Oxford. The underlying action contains causes of action for
27
     trespass, nuisance, and negligence.
28
                                                  7
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 8 of 11 Page ID #:8




 1           15.    On March 22, 2021, the Insured Defendants filed a cross-complaint
 2   against The City in the underlying action.
 3                                     The Related Action
 4           16.    On June 22, 2020, Fred & Jamison filed the related action against the
 5   City, alleging the same facts and damages as alleged in the underlying action.
 6           17.    On September 16, 2020, The City filed a cross-complaint against the
 7   Insured Defendants in the related action.
 8                                  CAUSES OF ACTION
 9                                    First Cause of Action
10                        Declaratory Relief against All Defendants
11          (No Duty to Defend Insured Defendants in the Underlying Actions)
12           18.    Plaintiff refers to and incorporates herein by reference each and
13   every allegation set forth above as if set forth here in full.
14           19.    Fred & Jamison's claimed damages in the underlying actions arise
15   from alleged water intrusion from 526 S. Oxford to 500 S. Oxford, a vacant lot.
16   There was no building on the property at 500 S.Oxford at the time of the alleged
17   water intrusion.
18           20.    In accordance with the insuring agreements, provisions, terms,
19   conditions, exclusions, and endorsements of the policy, Plaintiff contends it has
20   no duty to defend Insured Defendants in the underlying actions, as the alleged
21   water intrusion did not potentially cause "property damage" as that term is
22   defined in the policy. As a result, the complaints in the underlying action and the
23   related action do not fall within the basic scope of coverage of the insuring clause
24   of the policy.
25           21.    Plaintiff is informed and believes and thereon alleges that defendants
26   contend that there is coverage under the policy for the underlying actions, and
27   that Plaintiff has a duty to defend Insured Defendants in connection with the
28   underlying action under the policy.
                                                  8
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 9 of 11 Page ID #:9




 1           22.    An actual dispute and controversy exists between Plaintiff and
 2   defendants as to coverage under the policy for the underlying actions and
 3   Plaintiff's lack of a duty to defend Insured Defendants under the policy and
 4   applicable law, and a judicial determination is necessary to resolve this dispute.
 5           23.    Plaintiff seeks a declaration from this Court that there is no coverage
 6   for the underlying action and that Plaintiff has no obligation to defend Insured
 7   Defendants in the underlying actions.
 8                                       First Cause of Action
 9                           Declaratory Relief against All Defendants
10             (No Duty to Indemnify Insured Defendants in the Underlying Actions)
11           24.    Plaintiff refers to and incorporates herein by reference each and
12   every allegation set forth above as if set forth here in full.
13           25.    Fred & Jamison's claimed damages in the underlying action arise
14   from alleged water intrusion from 526 S. Oxford to 500 S. Oxford, a vacant lot.
15           26.    In accordance with the insuring agreements, provisions, terms,
16   conditions, exclusions, and endorsements of the policy, Plaintiff contends it has
17   no duty to indemnify Insured Defendants in the underlying actions as the alleged
18   water intrusion did not cause "property damage" as that term is defined in the
19   policy.
20           27.    Plaintiff is informed and believes and thereon alleges that defendants
21   contend that there is coverage, and that Plaintiff has a duty to indemnify Insured
22   Defendants in the underlying actions under the policy.
23           28.    An actual dispute and controversy exists between Plaintiff and
24   defendants as to coverage under the policy for the underlying actions and
25   Plaintiff's lack of a duty to indemnify Insured Defendants, and a judicial
26   determination is necessary to resolve this dispute.
27           29.    Plaintiff seeks a declaration from this Court that there is no coverage
28   for the underlying actions and that Plaintiff has no obligation to indemnify
                                                  9
                          COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 10 of 11 Page ID #:10




 1   Insured Defendants for any damages arising out of the alleged water intrusion in
 2   the underlying actions.
 3                                    Third Cause of Action
 4                     For Reimbursement of Defense Fees and Costs
 5           30.    Plaintiff refers to and incorporates herein by reference each and
 6   every allegation set forth above as if set forth here in full.
 7           31.    Plaintiff agreed to defend Insured Defendants in the underlying
 8   actions under a reservation of rights, including the right to seek reimbursement of
 9   attorneys' fees and costs expended to defend Insured Defendants for claims not
10   covered under the policies.
11           32.    There is no potential for coverage for the underlying actions under
12   the policy.
13           33.    Accordingly, Plaintiff is entitled to reimbursement for the full
14   amount it expended to defend the Insured Defendants in the underlying actions
15   with interest.
16                                  PRAYER FOR RELIEF
17           Plaintiff prays for judgment against Insured Defendants as follows:
18           1.     For a judicial declaration that there is no potential for coverage under
19   the policy for the underlying actions, and thus, Plaintiff has no duty to defend
20   Insured Defendants in the underlying actions;
21           2.     For a judicial declaration that there is no coverage under the policy,
22   and thus, Plaintiff has no duty to indemnify the Insured Defendants in the
23   underlying actions;
24           3.     For reimbursement of attorney's fees and costs Plaintiff incurred to
25   defend Insured Defendants in the underlying actions;
26           4.     For such other and further relief as the Court deems just and proper.
27

28
                                                   10
                           COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
Case 2:22-cv-03871-KS Document 1 Filed 06/06/22 Page 11 of 11 Page ID #:11




 1   Dated: June 6, 2022                           WILSON, ELSER, MOSKOWITZ,
 2
                                                     EDELMAN & DICKER LLP

 3
                                               By:__/s/ Danica Lam___________________
 4
                                                   Michelle R. Press
 5                                                 Danica Lam
                                                   Attorneys for Plaintiff STATE
 6
                                                   NATIONAL INSURANCE CO.,
 7                                                 INC.
 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                              11
                      COMPLAINT FOR DECLARATORY RELIEF AND REIMBURSEMENT
     271781401v.1
